Case 2:03-cr-20158-SHI\/| Document 2 Filed 07/11/05 Page 1 of 2 Page|D 2

g;bs:§ Report and Order Terminating Probation/
Supervised Release
Prior to Original Expiration Date

 

 

 

United States District Court 3 §
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wEsTERN DISTRICT 0F TENNESSEE $c» _ .<
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UNITED STATES 01= AMERICA §--' § H
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v. § s- s
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NORRIS CLAUDE RICKE'I`T

Crim. No. 2:03CR20158-01

On October 25, 1995, the above named was placed on Supervised Reiease for a period of live (5) years.
He has complied with the rules and regulations of Supervised Release and is no longer in need of Supervision. It

is accordingly recommended that he be discharged from Supervised Release.

Respectfully submitted,

%,//%

Edward B. Shaw
U.S. Probation OHicer
Electronic Monitoring Specialist

ORDER OF THE COURT

Pursuant to the above report, it is ordered that the defendant be discharged from Supervised Release and

that the proceedings in the case be terminatedl

Datedrhis ll‘y\ dany 5 ,20_°5.
Mh/r/L`

United States District Judge

 

Thls doccment entered on the docket sheet ln mpllance
with Ru|e 55 andfor 32¢bl FRCrP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:03-CR-20158 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

